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                 4                                  UNITED STATES DISTRICT COURT
                 5                                         DISTRICT OF NEVADA
                 6                                                    ***
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                         UNITED STATES OF AMERICA,                            Case No. 2:16-CR-294 JCM (VCF)
                 9
                                                              Plaintiff(s),                     ORDER
               10
                                v.
               11
                         JASON GOLDSBY, et al.,
               12
                                                            Defendant(s).
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               14
               15              Presently before the court is Magistrate Judge Ferenbach’s report and recommendation

               16       (“R&R”). (ECF No. 102). No objections have been filed, and the deadline for filing objections

               17       has since passed.

               18              This court “may accept, reject, or modify, in whole or in part, the findings or

               19       recommendations made by the magistrate.” 28 U.S.C. § 636(b)(1). Where a party timely objects

               20       to a magistrate judge’s report and recommendation, then the court is required to “make a de novo

               21       determination of those portions of the [report and recommendation] to which objection is made.”

               22       28 U.S.C. § 636(b)(1).

               23              Where a party fails to object, however, the court is not required to conduct “any review at

               24       all . . . of any issue that is not the subject of an objection.” Thomas v. Arn, 474 U.S. 140, 149

               25       (1985). Indeed, the Ninth Circuit has recognized that a district court is not required to review a

               26       magistrate judge’s report and recommendation where no objections have been filed. See United

               27       States v. Reyna-Tapia, 328 F.3d 1114 (9th Cir. 2003) (disregarding the standard of review

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                1     employed by the district court when reviewing a report and recommendation to which no
                2     objections were made).
                3             Magistrate Judge Ferenbach R&R recommends that the court deny defendants’ outstanding
                4     motions to dismiss. (ECF No. 102); see (ECF Nos. 88, 92).
                5             Plaintiffs have not objected to the report and recommendation. Nevertheless, this court
                6     finds it appropriate to engage in a de novo review to determine whether to adopt the
                7     recommendation of the magistrate judge. Upon reviewing the recommendation and underlying
                8     briefs, the court finds that good cause appears to adopt the magistrate judge’s findings.
                9             Accordingly,
              10              IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Magistrate Judge
              11      Ferenbach’s report and recommendation (ECF No. 102) be, and the same hereby is, ADOPTED
              12      in its entirety.
              13              IT IS FURTHER ORDERED that defendants’ motions to dismiss (ECF Nos. 88, 92) be,
              14      and the same hereby are, DENIED.
              15              DATED March 12, 2018.
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              17                                                    UNITED STATES DISTRICT JUDGE

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James C. Mahan
U.S. District Judge                                                  -2-
